           Case 5:15-cv-00334-FB Document 6 Filed 06/16/15 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

NICK SUITER,                                    §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §      CAUSE NO. 5:15-CV-00334-FB
                                                §
ASI LLOYDS and JOHN WIERMAN,                    §
                                                §
       Defendants.                              §
                                                §

                             JOINT NOTICE OF SETTLEMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff NICK SUITER and Defendants ASI LLOYDS and JOHN WIERMAN have

reached a settlement in this matter. Plaintiff and Defendants will submit an agreed motion of

dismissal with prejudice within 30 days.

                                              Respectfully submitted,

                                              By:          /s/ Andrew A. Howell
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                                              ATTORNEYS FOR DEFENDANT
                                              ASI LLOYDS




JOINT NOTICE OF SETTLEMENT                                                              Page 1
            Case 5:15-cv-00334-FB Document 6 Filed 06/16/15 Page 2 of 2



                                                 - and -

                                                 By:          /s/ Wes Holland
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                                                       ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of this Joint Notice of Settlement has been
served this 16th day of June 2015 by electronic filing as follows:

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                                                    /s/ Andrew A. Howell
                                                   Andrew A. Howell


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JOINT NOTICE OF SETTLEMENT                                                                    Page 2
